          Case 1:21-cv-00565-RP Document 488 Filed 08/23/24 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


WENDY DAVIS, et al.,                               §
          Plaintiffs                               §
                                                   §                      1:21-cv-565-RP
v.                                                 §
                                                   §
ELIAZAR CISNEROS, et al.,                          §
           Defendants


             ORDER ON JURY SELECTION AND JUROR QUESTIONNAIRE

     By referral of the District Court pursuant to 28 U.S.C. § 636 (Dkt. 481), jury selection will

proceed before this Magistrate Judge at 9:30 a.m. on Friday, September 6, 2024, in Courtroom 1

on the First Floor of the United States Courthouse, 501 West Fifth Street, Austin, Texas, according

to the plan below.

                                       Juror Questionnaire

     The parties asked the Court to send a supplemental questionnaire to jurors, but did not reach

an agreement on its form. Defendant Dolores Park submitted an excessively lengthy proposed

questionnaire, with 158 questions spanning 23 pages, joined by Defendant Eliazar Cisneros with

five more questions. Plaintiffs and Defendants Joeylynn Mesaros and Robert Mesaros submitted a

joint proposed questionnaire more appropriate in length, but the first six of its 18 questions overlap

with the Court’s standard questionnaire, and the joint questionnaire was not submitted in a format

ready to send to jurors.

     The Court ORDERS Plaintiffs and the Mesaros Defendants to RESUBMIT their joint

proposed supplemental juror questionnaire, eliminating any questions if they choose, in both Word

and .pdf formats ready for completion by prospective jurors – specifically, with spaces for

answers – by Wednesday, August 28, 2024. The questionnaire will be emailed to the venire.



                                                  1
               Case 1:21-cv-00565-RP Document 488 Filed 08/23/24 Page 2 of 4




                                             Jury Selection Plan

         The parties are HEREBY ORDERED to submit any objections or changes to this jury

      selection plan on or before Wednesday, September 4, 2024. Counsel must appear to address any

      objections or requested changes to the jury selection plan, or any other issues concerning jury

      selection, at 9 a.m. on Friday, September 6, 2024.

 I.      Welcome

        A.   Venire seated in gallery

        B.   Explanation of purpose of voir dire examination

        C.   Initial instructions

II.      General Questions (with follow-up to juror questionnaire responses as needed)

        A.   Anticipated trial length: Undue hardship/special problem?

        B.   Statement of Facts:

                     This civil case is brought by three Plaintiffs—Wendy Davis, David
                     Gins, and Timothy Holloway—against six Defendants—Eliazar
                     Cisneros, Randi Ceh, Steve Ceh, Joeylynn Mesaros, Robert
                     Mesaros, and Dolores Park. Plaintiffs allege that on October 30,
                     2020, they were campaigning for the Biden-Harris Presidential
                     Campaign in a campaign bus tour traveling on Interstate 35 from
                     San Antonio to Austin. Plaintiffs allege that Defendants, with others,
                     organized and carried out a conspiracy to use force, intimidation, or
                     threats to prevent Plaintiffs from supporting and advocating for their
                     preferred candidate, or to injure them for that support, by
                     surrounding the bus with their cars and trucks in a so-called “Trump
                     Train,” impeding its progress and preventing Plaintiffs from making
                     several scheduled campaign stops along I-35.

                     Plaintiffs bring three claims for monetary damages. In Claim I,
                     Plaintiffs allege that Defendants violated 42 U.S.C. § 1985(3), also
                     referred to as the Ku Klux Klan Act, “by conspiring with each other
                     and others to knowingly intimidate constitutionally eligible voters
                     by physically assaulting, threatening, and harassing Plaintiffs while
                     driving on I-35.” In Claim II, Plaintiffs allege that Defendants are
                     liable for Civil Conspiracy under Texas State Law. In Claim III,
                     Plaintiffs allege that Defendants are liable for Assault under Texas
                     State Law.



                                                       2
              Case 1:21-cv-00565-RP Document 488 Filed 08/23/24 Page 3 of 4




                   Defendants deny the allegations. Defendants assert that they are not
                   liable for damages because Plaintiffs cannot establish the required
                   elements to their claims or their requested damages. Defendants also
                   assert that even if Plaintiffs were to satisfy the elements of their
                   claims, Defendants’ actions constituted protected speech and
                   association under the First Amendment, which provides a complete
                   defense from liability, and under the Texas Constitution.

       C.   Counsel, client, and witness introductions: Do you or any immediate family member know
            any of them? Have you been employed by, heard or read anything, or formed an opinion
            about them?

       D.   Do you have any knowledge of other panel members or the courthouse judges and staff?

       E.   Do you know anything about this case? Is there anything about the description that causes
            you to believe you could not judge this case fairly, with an open mind?

       F.   Do you have any interest in the outcome of this litigation?

       G.   Have you or any member of your immediate family ever participated in a lawsuit as a party,
            witness, or in any other capacity?

       H.   Do you have any legal training, education, or work experience?

       I.   Instructions on evidence and law: Are you able and willing to render a verdict solely on
            the evidence presented at the trial in the context of the law?

       J.   Instruction on burden of proof in civil cases: Are you able to require plaintiffs to prove
            their case by a preponderance of the evidence and not hold them to a greater or lesser
            standard of proof?

III.    Specific Questions Requested by Counsel (with follow-up questions as needed)

       A.   Have you heard anything about a case brought by Plaintiffs against the City of San Marcos
            and others that resulted in a public settlement in 2023?

       B.   Have you, or your close family members or friends, ever attended a “Trump Train,”
            “MAGA Drag the Interstate,” or similar event, or been a member of the “New Braunfels
            Trump Train” or “Alamo City Trump Train” Facebook groups?

       C.   Have you, or your close family members or friends, been employed by or had any business
            or close personal relationship with a Texas politician or political body or organization?

       D.   Have you, or your close family members or friends, ever attended a rally, protest, or
            campaign event? Have you ever ridden on a campaign or tour bus?

       E.   Do you hold any personal political beliefs that would affect your ability to be a fair and
            impartial juror in this case?


                                                     3
                 Case 1:21-cv-00565-RP Document 488 Filed 08/23/24 Page 4 of 4




 IV.       Questions from Plaintiffs’ Counsel (45 minutes)

  V.       Questions from Defendants’ Counsel (45 minutes)

 VI.       Final Questions by the Court, including any matter for the Court’s attention

VII.       Recess

          A.   Jurors are excused

          B.   Attorneys may exercise challenges for cause and peremptory challenges

          C.   Eight jurors are selected

VIII.      Jurors Return to Courtroom

          A.   Stricken jurors are excused

          B.   Jury is sworn and preliminary instructions are provided

        SIGNED on August 23, 2024.


                                                           SUSAN HIGHTOWER
                                                           UNITED STATES MAGISTRATE JUDGE




                                                       4
